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10   (Pro hac vice)
     Attorneys for Plaintiff, Mollie Winninger
11
                              UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
13
      MOLLIE WINNINGER, an individual,                  Case. No.: 4:21-cv-04689-HSG
14
                     Plaintiff,
15            vs.
16
     CASSIUS SCOTT, as an individual,                   STIPULATED PROTECTIVE
17   KAISER FOUNDATION HOSPITALS, and                   ORDER FOR STANDARD
     THE PERMANENTE MEDICAL GROUP,                      LITIGATION
18   INC.,
19                                                      Judge: The Hon. Haywood S. Gilliam, Jr.
                     Defendants.
20
     1.       PURPOSES AND LIMITATIONS
21
              Disclosure and discovery activity in this action are likely to involve production of
22
     confidential, proprietary, or private information for which special protection from public
23
     disclosure and from use for any purpose other than prosecuting this litigation may be
24
     warranted. Accordingly, the parties hereby stipulate to and petition the court to enter the
25
     following Stipulated Protective Order. The parties acknowledge that this Order does not
26
     confer blanket protections on all disclosures or responses to discovery and that the protection
27
28   it affords from public disclosure and use extends only to the limited information or items that



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 1   are entitled to confidential treatment under the applicable legal principles. The parties further
 2   acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order does
 3   not entitle them to file confidential information under seal; Civil Local Rule 79-5 sets forth
 4   the procedures that must be followed and the standards that will be applied when a party
 5   seeks permission from the court to file material under seal.
 6
     2.        DEFINITIONS
 7
               2.1      Challenging Party: a Party or Non-Party that challenges the designation of
 8
     information or items under this Order.
 9
               2.2      “CONFIDENTIAL” Information or Items: information (regardless of how
10
     it is generated, stored or maintained) or tangible things that qualify for protection under
11
     Federal Rule of Civil Procedure 26(c), including but not limited to Plaintiff’s medical records
12
     and information.
13
               2.3      Counsel (without qualifier): Outside Counsel of Record and House Counsel
14
15   (as well as their support staff).

16             2.4      Designating Party: a Party or Non-Party that designates information or

17   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

18             2.5      Disclosure or Discovery Material: all items or information, regardless of

19   the medium or manner in which it is generated, stored, or maintained (including, among other
20   things, testimony, transcripts, and tangible things), that are produced or generated in
21   disclosures or responses to discovery in this matter.
22             2.6      Expert: a person with specialized knowledge or experience in a matter
23   pertinent to the litigation who has been retained by a Party or its counsel to serve as an expert
24   witness or as a consultant in this action.
25
               2.7      House Counsel: attorneys who are employees of a party to this action.
26
     House Counsel does not include Outside Counsel of Record or any other outside counsel.
27
               2.8      Non-Party: any natural person, partnership, corporation, association, or
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     other legal entity not named as a Party to this action.


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 1              2.9    Outside Counsel of Record: attorneys who are not employees of a party to
 2   this action but are retained to represent or advise a party to this action and have appeared in
 3   this action on behalf of that party or are affiliated with a law firm which has appeared on
 4   behalf of that party.
 5              2.10   Party: any party to this action, including all of its officers, directors,
 6
     employees, consultants, retained experts, and Outside Counsel of Record (and their support
 7
     staffs).
 8
                2.11   Producing Party:    a Party or Non-Party that produces Disclosure or
 9
     Discovery Material in this action.
10
                2.12   Professional Vendors: persons or entities that provide litigation support
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     services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations,
12
     and organizing, storing, or retrieving data in any form or medium) and their employees and
13
     subcontractors.
14
15              2.13   Protected Material: any Disclosure or Discovery Material that is designated

16   as “CONFIDENTIAL.”

17              2.14   Receiving Party: a Party that receives Disclosure or Discovery Material

18   from a Producing Party.

19   3.         SCOPE
20              The protections conferred by this Stipulation and Order cover not only Protected
21   Material (as defined above), but also (1) any information copied or extracted from Protected
22   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3)
23   any testimony, conversations, or presentations by Parties or their Counsel that might reveal
24   Protected Material. However, the protections conferred by this Stipulation and Order do not
25
     cover the following information: (a) any information that is in the public domain at the time
26
     of disclosure to a Receiving Party or becomes part of the public domain after its disclosure
27
     to a Receiving Party as a result of publication not involving a violation of this Order,
28
     including becoming part of the public record through trial or otherwise; and (b) any


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 1   information known to the Receiving Party prior to the disclosure or obtained by the
 2   Receiving Party after the disclosure from a source who obtained the information lawfully
 3   and under no obligation of confidentiality to the Designating Party. Any use of Protected
 4   Material at trial shall be governed by a separate agreement or order.
 5   4.        DURATION
 6
               Even after final disposition of this litigation, the confidentiality obligations
 7
     imposed by this Order shall remain in effect until a Designating Party agrees otherwise in
 8
     writing or a court order otherwise directs. Final disposition shall be deemed to be the later of
 9
     (1) dismissal of all claims and defenses in this action, with or without prejudice; and (2) final
10
     judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
11
     trials, or reviews of this action, including the time limits for filing any motions or applications
12
     for extension of time pursuant to applicable law.
13
     5.        DESIGNATING PROTECTED MATERIAL
14
15             5.1     Exercise of Restraint and Care in Designating Material for Protection. Each

16   Party or Non-Party that designates information or items for protection under this Order must

17   take care to limit any such designation to specific material that qualifies under the appropriate

18   standards. The Designating Party must designate for protection only those parts of material,

19   documents, items, or oral or written communications that qualify – so that other portions of
20   the material, documents, items, or communications for which protection is not warranted are
21   not swept unjustifiably within the ambit of this Order.
22   Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown
23   to be clearly unjustified or that have been made for an improper purpose (e.g., to
24   unnecessarily encumber or retard the case development process or to impose unnecessary
25
     expenses and burdens on other parties) expose the Designating Party to sanctions.
26
     If it comes to a Designating Party’s attention that information or items that it designated for
27
     protection do not qualify for protection, that Designating Party must promptly notify all other
28
     Parties that it is withdrawing the mistaken designation.


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 1            5.2     Manner and Timing of Designations. Except as otherwise provided in this
 2   Order (see, e.g., second paragraph of section 5.2(a) below and section 5.3 below), or as
 3   otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 4   under this Order must be clearly so designated before the material is disclosed or produced.
 5   Designation in conformity with this Order requires:
 6
              (a) for information in documentary form (e.g., paper or electronic documents, but
 7
     excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
 8
     Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If
 9
     only a portion or portions of the material on a page qualifies for protection, the Producing
10
     Party also must clearly identify the protected portion(s) (e.g., by making appropriate
11
     markings in the margins).
12
              A Party or Non-Party that makes original documents or materials available for
13
     inspection need not designate them for protection until after the inspecting Party has
14
15   indicated which material it would like copied and produced. During the inspection and before

16   the designation, all of the material made available for inspection shall be deemed

17   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants copied

18   and produced, the Producing Party must determine which documents, or portions thereof,

19   qualify for protection under this Order. Then, before producing the specified documents, the
20   Producing Party must affix the “CONFIDENTIAL” legend to each page that contains
21   Protected Material. If only a portion or portions of the material on a page qualifies for
22   protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by
23   making appropriate markings in the margins).
24            (b) for testimony given in deposition or in other pretrial or trial proceedings, that
25
     the Designating Party identify on the record, before the close of the deposition, hearing, or
26
     other proceeding, all protected testimony.
27
              (c) for information produced in some form other than documentary and for any
28
     other tangible items, that the Producing Party affix in a prominent place on the exterior of


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 1   the container or containers in which the information or item is stored the legend
 2   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant
 3   protection, the Producing Party, to the extent practicable, shall identify the protected
 4   portion(s).
 5            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
 6
     to designate qualified information or items does not, standing alone, waive the Designating
 7
     Party’s right to secure protection under this Order for such material. Upon timely correction
 8
     of a designation, the Receiving Party must make reasonable efforts to assure that the material
 9
     is treated in accordance with the provisions of this Order.
10
     6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
11
              6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation
12
     of confidentiality at any time. A Party does not waive its right to challenge a confidentiality
13
     designation by electing not to mount a challenge promptly after the original designation is
14
15   disclosed.

16            6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

17   process by providing written notice of each designation it is challenging and describing the

18   general basis for each challenge. To avoid ambiguity as to whether a challenge has been

19   made, the written notice must recite that the challenge to confidentiality is being made in
20   accordance with this specific paragraph of the Protective Order. The parties shall attempt to
21   resolve each challenge in good faith and must begin the process by conferring directly (in
22   voice to voice dialogue; other forms of communication are not sufficient) within 14 days of
23   the date of service of notice. In conferring, the Challenging Party must explain the basis for
24   its belief that the confidentiality designation was not proper and must give the Designating
25
     Party an opportunity to review the designated material, to reconsider the circumstances, and,
26
     if no change in designation is offered, to explain the basis for the chosen designation. A
27
     Challenging Party may proceed to the next stage of the challenge process only if it has
28
     engaged in this meet and confer process first or establishes that the Designating Party is


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 1   unwilling to participate in the meet and confer process in a timely manner. The Designating
 2   Party always bears the burden of establishing that a confidentiality designation is proper.
 3            6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court
 4   intervention, the Designating Party shall file and serve a motion to retain confidentiality
 5   under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within
 6
     21 days of the initial notice of challenge or within 14 days of the parties agreeing that the
 7
     meet and confer process will not resolve their dispute, whichever is earlier. Each such motion
 8
     must be accompanied by a competent declaration affirming that the movant has complied
 9
     with the meet and confer requirements imposed in the preceding paragraph. Failure by the
10
     Designating Party to make such a motion including the required declaration within 21 days
11
     (or 14 days, if applicable) shall automatically waive the confidentiality designation for each
12
     challenged designation. In addition, the Challenging Party may file a motion challenging a
13
     confidentiality designation at any time if there is good cause for doing so, including a
14
15   challenge to the designation of a deposition transcript or any portions thereof. Any motion

16   brought pursuant to this provision must be accompanied by a competent declaration

17   affirming that the movant has complied with the meet and confer requirements imposed by

18   the preceding paragraph.

19            The burden of persuasion in any such challenge proceeding shall be on the
20   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to
21   harass or impose unnecessary expenses and burdens on other parties) may expose the
22   Challenging Party to sanctions. Unless the Designating Party has waived the confidentiality
23   designation by failing to file a motion to retain confidentiality as described above, all parties
24   shall continue to afford the material in question the level of protection to which it is entitled
25
     under the Producing Party’s designation until the court rules on the challenge.
26
     7.       ACCESS TO AND USE OF PROTECTED MATERIAL
27
              7.1     Basic Principles. A Receiving Party may use Protected Material that is
28
     disclosed or produced by another Party or by a Non-Party in connection with this case only


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 1   for prosecuting, defending, or attempting to settle this litigation, or as otherwise required by
 2   law, following the procedures and protocols set forth in Section 8 (“PROTECTED
 3   MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER LITIGATION OR
 4   ADMINISTRATIVE PROCEEDINGS”). Such Protected Material may be disclosed only to
 5   the categories of persons and under the conditions described in this Order. When the
 6
     litigation has been terminated, a Receiving Party must comply with the provisions of section
 7
     13 below (FINAL DISPOSITION).
 8
     Protected Material must be stored and maintained by a Receiving Party at a location and in
 9
     a secure manner that ensures that access is limited to the persons authorized under this Order.
10
              7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
11
     ordered by the court or permitted in writing by the Designating Party, a Receiving Party may
12
     disclose any information or item designated “CONFIDENTIAL” only to:
13
              (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
14
15   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose

16   the information for this litigation and who have signed the “Acknowledgment and Agreement

17   to Be Bound” that is attached hereto as Exhibit A;

18            (b) the officers, directors, and employees (including House Counsel) of the

19   Receiving Party to whom disclosure is reasonably necessary for this litigation and who have
20   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
21            (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
22   reasonably necessary for this litigation and who have signed the “Acknowledgment and
23   Agreement to Be Bound” (Exhibit A);
24            (d) the court and its personnel;
25
              (e) court reporters and their staff, professional jury or trial consultants, mock jurors,
26
     and Professional Vendors to whom disclosure is reasonably necessary for this litigation and
27
     who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
28
              (f)   during their depositions, witnesses in the action to whom disclosure is


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 1   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be
 2   Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the
 3   court. Pages of transcribed deposition testimony or exhibits to depositions that reveal
 4   Protected Material must be separately bound by the court reporter and may not be disclosed
 5   to anyone except as permitted under this Stipulated Protective Order.
 6
              (g) the author or recipient of a document containing the information or a custodian
 7
     or other person who otherwise possessed or knew the information.
 8
     8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 9
     OTHER LITIGATION OR ADMINISTRATIVE PROCEEDINGS
10
              If a Party is served with a subpoena or a court order issued in other litigation or
11
     administrative proceedings that compels disclosure of any information or items designated
12
     in this action as “CONFIDENTIAL,” that Party must:
13
              (a) promptly notify in writing the Designating Party. Such notification shall include
14
15   a copy of the subpoena or court order;

16            (b) promptly notify in writing the party who caused the subpoena or order to issue

17   in the other litigation that some or all of the material covered by the subpoena or order is

18   subject to this Protective Order. Such notification shall include a copy of this Stipulated

19   Protective Order; and
20            (c) cooperate with respect to all reasonable procedures sought to be pursued by the
21   Designating Party whose Protected Material may be affected.
22            If the Designating Party timely seeks a protective order, the Party served with the
23   subpoena or court order shall not produce any information designated in this action as
24   “CONFIDENTIAL” before a determination by the court or administrative body from which
25
     the subpoena or order issued, unless the Party has obtained the Designating Party’s
26
     permission. The Designating Party shall bear the burden and expense of seeking protection
27
     in that court or administrative of its confidential material – and nothing in these provisions
28
     should be construed as authorizing or encouraging a Receiving Party in this action to disobey


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 1   a lawful directive from another court or administrative body.
 2   9.        A   NON-PARTY’S          PROTECTED          MATERIAL         SOUGHT        TO     BE
 3   PRODUCED IN THIS LITIGATION
 4             (a) The terms of this Order are applicable to information produced by a Non-Party
 5   in this action and designated as “CONFIDENTIAL.” Such information produced by Non-
 6
     Parties in connection with this litigation is protected by the remedies and relief provided by
 7
     this Order. Nothing in these provisions should be construed as prohibiting a Non-Party from
 8
     seeking additional protections.
 9
               (b) In the event that a Party is required, by a valid discovery request or order, to
10
     produce a Non-Party’s confidential information in its possession, and the Party is subject to
11
     an agreement with the Non-Party not to produce the Non-Party’s confidential information,
12
     then the Party shall:
13
                      (1) promptly notify in writing the Requesting Party and the Non-Party that
14
15   some or all of the information requested is subject to a confidentiality agreement with a Non-

16   Party;

17                    (2) promptly provide the Non-Party with a copy of the Stipulated Protective

18   Order in this litigation, the relevant discovery request(s), and a reasonably specific

19   description of the information requested; and
20                    (3) make the information requested available for inspection by the Non-
21   Party.
22             (c) If the Non-Party fails to object or seek a protective order from this court within
23   14 days of receiving the notice and accompanying information, the Receiving Party may
24   produce the Non-Party’s confidential information responsive to the discovery request. If the
25
     Non-Party timely seeks a protective order, the Receiving Party shall not produce any
26
     information in its possession or control that is subject to the confidentiality agreement with
27
     the Non-Party before a determination by the court. Absent a court order to the contrary, the
28
     Non-Party shall bear the burden and expense of seeking protection in this court of its


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 1   Protected Material.
 2   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 3            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 4   Protected Material to any person or in any circumstance not authorized under this Stipulated
 5   Protective Order, the Receiving Party must immediately (a) notify in writing the Designating
 6
     Party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized
 7
     copies of the Protected Material, (c) inform the person or persons to whom unauthorized
 8
     disclosures were made of all the terms of this Order, and (d) request such person or persons
 9
     to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as
10
     Exhibit A.
11
     11.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
12
     PROTECTED MATERIAL
13
              When a Producing Party gives notice to Receiving Parties that certain inadvertently
14
15   produced material is subject to a claim of privilege or other protection, the obligations of the

16   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

17   provision is not intended to modify whatever procedure may be established in an e-discovery

18   order that provides for production without prior privilege review.

19            Inadvertent or unintentional production of Protected Material without prior
20   designation as “CONFIDENTIAL” shall not be deemed a waiver, in whole or in part, of the
21   right to designate the Disclosure or Discovery Material as Protected Material as otherwise
22   allowed by this Order. Further, a Producing Party may assert that Discovery Material
23
     produced by another Party or Parties constitute Protected Material by following the
24
     procedures set forth herein for a Designated Party to inform the opposing Party or Parties.
25
     12.      MISCELLANEOUS
26
              12.1    Right to Further Relief. Nothing in this Order abridges the right of any
27
     person to seek its modification by the court in the future.
28


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 1             12.2   Right to Assert Other Objections. By stipulating to the entry of this
 2   Protective Order no Party waives any right it otherwise would have to object to disclosing or
 3   producing any information or item on any ground not addressed in this Stipulated Protective
 4   Order. Similarly, no Party waives any right to object on any ground to use in evidence or any
 5   confidentiality designation of any of the material covered by this Protective Order.
 6
               12.3   Filing Protected Material. Without written permission from the Designating
 7
     Party or a court order secured after appropriate notice to all interested persons, a Party may
 8
     not file in the public record in this action any Protected Material. A Party that seeks to file
 9
     under seal any Protected Material must comply with Civil Local Rule 79-5. Protected
10
     Material may only be filed under seal pursuant to a court order authorizing the sealing of the
11
     specific Protected Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will
12
     issue only upon a request establishing that the Protected Material at issue is privileged,
13
     protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving
14
15   Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-5(d) is

16   denied by the court, then the Receiving Party may file the information in the public record

17   pursuant to Civil Local Rule 79-5(e) unless otherwise instructed by the court.

18             12.4   By filing this stipulation and seeking a court order, defendants are not

19   waiving their right to compel arbitration of plaintiff’s claims. Defendants hereby reserve
20   their right to compel arbitration if plaintiff does not voluntarily agree to proceeding in
21   arbitration.
22   13.       FINAL DISPOSITION
23             Within 60 days after the final disposition of this action, as defined in paragraph 4,
24   each Receiving Party must return all Protected Material to the Producing Party or destroy
25
     such material. As used in this subdivision, “all Protected Material” includes all copies,
26
     abstracts, compilations, summaries, and any other format reproducing or capturing any of
27
     the Protected Material. Whether the Protected Material is returned or destroyed, the
28
     Receiving Party must submit a written certification to the Producing Party (and, if not the


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 1   same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
 2   category, where appropriate) all the Protected Material that was returned or destroyed and
 3   (2) affirms that the Receiving Party has not retained any copies, abstracts, compilations,
 4   summaries or any other format reproducing or capturing any of the Protected Material.
 5   Notwithstanding this provision, Counsel are entitled to retain an archival copy of all
 6
     pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
 7
     correspondence, deposition and trial exhibits, expert reports, attorney work product, and
 8
     consultant and expert work product, even if such materials contain Protected Material. Any
 9
     such archival copies that contain or constitute Protected Material remain subject to this
10
     Protective Order as set forth in Section 4 shall be destroyed within seven (7) years of the
11
     conclusion of litigation, including any appeals.
12
     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
13
14            Dated: October 5, 2021.        McLetchie Law
15                                           By:        /s/ Margaret A. McLetchie
16                                                      Margaret A. McLetchie, CA Bar No. 223240
                                                        Attorney for Plaintiff, Mollie Winninger
17
                                             C. A. Goldberg, PLLC
18
19            Dated: October 5, 2021.        By:        /s/ Aurore DeCarlo
                                                        Aurore DeCarlo, NYS Bar No. 4096517
20                                                      Attorney for Plaintiff, Mollie Winninger
                                                        (Pro hac vice)
21
22                                           HASSARD BONNINGTON LLP

23            Dated: October 5, 2021.        By:        /s/ Julia Hansen-Arenas
                                                        James M. Goodman, CA Bar No. 65972
24
                                                        J. Julia Hansen-Arenas, CA Bar No. 225697
25                                                      Attorneys for Defendant, Cassius Scott, M.D.

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     ///
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     ///

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                                      BUTY & CURLIANO LLP
 1
 2          Dated: October 5, 2021.   By:    /s/ Ondrej Likar
                                             Ondrej Likar, CA Bar No.
 3                                           Attorney for Defendants, Kaiser Foundation
                                             Hospitals and The Permanente Medical
 4
                                             Group, Inc.
 5
 6    PURSUANT TO STIPULATION, IT IS SO ORDERED.
 7
 8
         10/6/2021
 9   Dated:                                  The Hon. Haywood S. Gilliam, Jr.
10                                           United States District Court Judge

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 1                                             EXHIBIT A
 2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3             I,   _____________________________            [print   or   type    full   name],    of
 4   _________________ [print or type full address], declare under penalty of perjury that I have
 5   read in its entirety and understand the Stipulated Protective Order that was issued by the
 6
     United States District Court for the Northern District of California on [date] in the case of
 7
     ___________ [insert formal name of the case and the number and initials assigned to it
 8
     by the court]. I agree to comply with and to be bound by all the terms of this Stipulated
 9
     Protective Order and I understand and acknowledge that failure to so comply could expose
10
     me to sanctions and punishment in the nature of contempt. I solemnly promise that I will not
11
     disclose in any manner any information or item that is subject to this Stipulated Protective
12
     Order to any person or entity except in strict compliance with the provisions of this Order.
13
     I further agree to submit to the jurisdiction of the United States District Court for the Northern
14
15   District of California for the purpose of enforcing the terms of this Stipulated Protective

16   Order, even if such enforcement proceedings occur after termination of this action.

17             I hereby appoint __________________________ [print or type full name] of

18   _______________________________________ [print or type full address and telephone

19   number] as my California agent for service of process in connection with this action or any
20   proceedings related to enforcement of this Stipulated Protective Order.
21
22   Date: ______________________________________
23   City and State where sworn and signed: _________________________________
24
25
     Printed name: _______________________________
26
27
     Signature: __________________________________
28


                                                     15
